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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA



GINA CHRISTOPHERSON, individually              Case No. 0:23-cv-03614
and on behalf of all those similarly
situated                                       Judge Nancy E. Brasel
                            Plaintiff,         Magistrate Judge Leo I. Brisbois
              v.

CINEMA ENTERTAINMENT
CORPORATION,
                  Defendant.


NOTICE OF SUPPLEMENTAL AUTHORITY IN SUPPORT OF DEFENDANT’S
                    MOTION TO DISMISS

       Defendant Cinema Entertainment Corporation (“CEC”), by and through its

undersigned counsel, hereby gives notice of the Order in Walsh v. California Cinema

Investments LLC et al.., No. 2:23-CV-09608-ODW (AJRx) (slip op.) (C.D. Cal. Jul. 29,

2024) (Wright III, J.) (attached hereto as Exhibit 1) which supports the arguments CEC

makes in its pending Motion to Dismiss (ECF No. 19) and which was issued after briefing

on the Motion to Dismiss closed.

       The Walsh court dismissed Plaintiff’s Complaint with prejudice holding that

Plaintiff did not sufficiently allege that the defendant, a public movie theater, was a video

tape service provider (“VTSP”), reasoning that the defendant did not “deliver” audio visual

materials:
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       Rather, the definition of “delivery” and its application to movie theaters has
       previously been considered within the Ninth Circuit. In Osheske v. Silver
       Cinemas Acquisition Co., the court considered the applicability of the VPPA,
       and defined “delivery” of audio visual materials as turning on the transfer of
       a possessory interest in the materials. No. 2:22-cv-09463 HDV (JCx), 2023
       WL 8188464, at *3–4 (C.D. Cal. Oct. 31, 2023), appeal filed, No. 23-3882
       (9th Cir. Nov. 30, 2023). Under this definition, a movie theater could not be
       a VTSP, because movie theaters do not give their customers a possessory
       interest in the movies they show. Applying Osheske here, the Court would
       not need to consider the definition from In re Vizio to determine whether
       movie theaters are in the business of delivering video content, because movie
       theaters do not “deliver” video content at all.

Walsh at 5.

       In addition, the Walsh court found that the defendant did not deliver audio visual

materials by displaying trailers on its website, reasoning that:

      [F]or Defendants “to be engaged in the business of delivering video content,
      [Defendants’] product must not only be substantially involved in the
      conveyance of video content to consumers but also significantly tailored to
      serve that purpose.” 238 F. Supp. 3d at 1221 (emphasis added). In this context,
      “‘business’ connotes ‘a particular field of endeavor,’ i.e., a focus of the
      defendant’s work.” Id. Here, however, the mere presence of trailers on
      Defendants’ website is insufficient to establish that Defendants are delivering
      audio visual materials to a degree that would be in the business of doing so.
      Walsh has made no allegations which suggest that delivering movie trailers is
      “a focus of Defendants’ work.” (See generally Compl.; Opp’n.) Indeed, it
      seems more likely that these trailers merely serve to promote Defendants’
      actual business as a movie theater. Courts have repeatedly held that marketing
      videos are insufficient to bring a defendant under the definition of a VTSP.


Dated: July 31, 2024                              Respectfully submitted,

                                                  BAKER & HOSTETLER LLP

                                            By: /s/ Bonnie Keane DelGobbo

                                                  Bonnie Keane DelGobbo (pro hac vice)
                                                  Joel C. Griswold (pro hac vice)
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                            CERTIFICATE OF SERVICE

       I hereby certify that on this date, July 31, 2024, a true and correct copy of the
foregoing document was electronically filed with the Clerk of Court using the CM/ECF
system, which will automatically send an email notification of such filing to all attorneys
of record.

                                                /s/ Bonnie Keane DelGobbo
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                EXHIBIT 1
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 11   MICHAEL WALSH,                                Case № 2:23-cv-09608-ODW (AJRx)
 12                      Plaintiff,                 ORDER GRANTING
 13         v.                                      DEFENDANTS’ MOTION TO
 14                                                 DISMISS [16]
      CALIFORNIA CINEMA
 15   INVESTMENTS LLC et al.,
 16                      Defendants.
 17
 18                                   I.    INTRODUCTION
 19         Plaintiff Michael Walsh brings this action against Defendants California
 20   Cinema Investments LLC (“California Cinema”), USA Cinema Investments Holding
 21   Inc. (“USA Cinema”), and Cinépolis USA, alleging violations of the Video Privacy
 22   Protection   Act    (“VPPA”)         and   California   Civil   Code   section 1799.3
 23   (“Section 1799.3”). (Compl. ¶ 2, ECF No. 1.) Under Federal Rule of Civil Procedure
 24   (“Rule”) 12(b)(6), Defendants now move to dismiss this action for failure to state a
 25   claim under either the VPPA or Section 1799.3. (Mot. Dismiss (“Mot.” or “Motion”),
 26
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  1   ECF No. 16.) For the reasons discussed below, the Court GRANTS the Motion and
  2   DISMISSES this action.1
  3                                    II.       BACKGROUND
  4           USA Cinema is a chain with movie theaters across the United States. (Compl.
  5   ¶ 1.) On behalf of USA Cinema, California Cinema operates a website through which
  6   consumers can purchase movie tickets online (the “Website”). (Id. ¶¶ 1, 9.) Walsh
  7   alleges that USA Cinema and California Cinema installed “tracking pixels” on the
  8   Website, which allegedly send consumers’ personally identifiable information (“PII”)
  9   to Meta Platforms, Inc. (“Meta”) each time a consumer purchases a movie ticket on
 10   the Website. (Id. ¶ 1.) This PII allegedly includes unique user ID numbers and allows
 11   Meta to obtain the title of the movie for which the consumer purchased the ticket. (Id.
 12   ¶ 2.)
 13           On November 13, 2023, Walsh filed this action alleging that Defendants
 14   violated the VPPA and Section 1799.3 by disclosing PII to Meta without consumers’
 15   written consent. (Id. ¶ 2.) Under Rule 12(b)(6), Defendants move to dismiss both of
 16   Walsh’s causes of action on the bases that (1) Walsh fails to state a claim under the
 17   VPPA; (2) Walsh fails to state a claim under Section 1799.3; and (3) the VPPA and
 18   Section 1799.3, both on their face and as applied to Defendants, violate the First
 19   Amendment to the United States Constitution. (Mot. 2.)2
 20                                III.       LEGAL STANDARD
 21           A court may dismiss a complaint under Rule 12(b)(6) for lack of a cognizable
 22   legal theory or insufficient facts pleaded to support an otherwise cognizable legal
 23   theory. Balistreri v. Pacifica Police Dep’t, 901 F.2d 696, 699 (9th Cir. 1988). To
 24
      1
 25     Having carefully considered the papers filed in connection with the Motion, the Court deemed the
      matter appropriate for decision without oral argument. Fed. R. Civ. P. 78; C.D. Cal. L.R. 7-15.
 26   2
        On January 29, 2024, Defendants notified the United States Attorney General and the Attorney
 27   General of the State of California of their constitutional challenges to the VPPA and Section 1799.3.
      (Notice Constitutional Question, ECF No. 17.) On March 29, 2024, the United States intervened in
 28   the case solely for the purpose of defending the constitutionality of the VPPA. (Notice
      Intervention 2, ECF No. 25; Opp’n Intervention, ECF No. 30.)



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  1   survive a dismissal motion, a complaint need only satisfy the minimal notice pleading
  2   requirements of Rule 8(a)(2)—a short and plain statement of the claim. Porter v.
  3   Jones, 319 F.3d 483, 494 (9th Cir. 2003). The “[f]actual allegations must be enough
  4   to raise a right to relief above the speculative level.” Bell Atl. Corp. v. Twombly,
  5   550 U.S. 544, 555 (2007). That is, the complaint must “contain sufficient factual
  6   matter, accepted as true, to state a claim to relief that is plausible on its face.”
  7   Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal quotation marks omitted).
  8         The determination of whether a complaint satisfies the plausibility standard is a
  9   “context-specific task that requires the reviewing court to draw on its judicial
 10   experience and common sense.” Id. at 679. A court is generally limited to the
 11   pleadings and must construe all “factual allegations set forth in the complaint . . . as
 12   true and . . . in the light most favorable” to the plaintiff. Lee v. City of Los Angeles,
 13   250 F.3d 668, 679 (9th Cir. 2001).       However, a court need not blindly accept
 14   conclusory allegations, unwarranted deductions of fact, and unreasonable inferences.
 15   Sprewell v. Golden State Warriors, 266 F.3d 979, 988 (9th Cir. 2001).
 16         Where a district court grants a motion to dismiss, it should generally provide
 17   leave to amend unless it is clear the complaint could not be saved by any amendment.
 18   See Fed. R. Civ. P. 15(a); Manzarek v. St. Paul Fire & Marine Ins. Co., 519 F.3d
 19   1025, 1031 (9th Cir. 2008).        Leave to amend may be denied when “the court
 20   determines that the allegation of other facts consistent with the challenged pleading
 21   could not possibly cure the deficiency.” Schreiber Distrib. Co. v. Serv-Well Furniture
 22   Co., 806 F.2d 1393, 1401 (9th Cir. 1986).         Thus, leave to amend “is properly
 23   denied . . . if amendment would be futile.”       Carrico v. City & County of San
 24   Francisco, 656 F.3d 1002, 1008 (9th Cir. 2011).
 25                                IV.        DISCUSSION
 26         Defendants argue that Walsh fails to state a claim under both the VPPA and
 27   Section 1799.3. (Mot. 2) The Court considers each argument in turn.
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  1   A.     Walsh’s Claim Under the Video Privacy Protection Act
  2          In 1988, Congress enacted the VPPA to codify “a context-specific extension of
  3   the substantive right to privacy.” Eichenberger v. ESPN, Inc., 876 F.3d 979, 983
  4   (9th Cir. 2017) (emphasis omitted). The statute “protects generally a consumer’s
  5   substantive privacy interest in his or her video-viewing history.” Id. To plead a
  6   plausible claim under the VPPA, a plaintiff must allege that (1) “a defendant is a video
  7   tape service provider” (“VTSP”); (2) “the defendant disclosed [PII] concerning any
  8   customer to any person”; (3) “the disclosure was made knowingly”; and (4) “the
  9   disclosure was not authorized by [18 U.S.C. §] 2710(b)(2).” Mollett v. Netflix, Inc.,
 10   795 F.3d 1062, 1066 (9th Cir. 2015).
 11          Defendants argue that Walsh’s VPPA claim fails because Defendants do not fall
 12   within the purview of the statute’s definition of a VTSP. (Mot. 2.) A VTSP is “any
 13   person, engaged in the business, in or affecting interstate or foreign commerce, of
 14   rental, sale, or delivery of prerecorded video cassette tapes or similar audio visual
 15   materials.”     18 U.S.C. § 2710(a)(4) (emphasis added).                  Accordingly, whether
 16   Defendants fall under the definition of a VTSP turns on if Defendants “rent,” “sell,” or
 17   “deliver” audio visual materials.
 18          Although Walsh does not contend that Defendants “sell” audio visual materials,
 19   he does argue that movie theaters engage in the business of (1) “delivering” audio
 20   visual materials, (Opp’n 4–6, ECF No. 23), and (2) “‘renting’ consumers access to
 21   view ‘prerecorded . . . audio visual materials’ on its physical premises,” (id. at 10).3
 22          1.      “Delivering” Audio Visual Materials as a Movie Theater
 23          First, Walsh argues that the services provided by movie theaters are analogous
 24   to those of a streaming service, and Defendants should therefore be considered to
 25
 26
      3
 27     Walsh specifically argues that Defendants “convey” video content as described in In re Vizio, Inc.,
      Consumer Priv. Litig., 238 F. Supp. 3d 1204, 1221 (C.D. Cal. 2017). (Opp’n 4.) The conveyance
 28   test from In re Vizio, Inc. deals with determining whether a defendant is “engaged in the business of
      delivering video content.” Id. Walsh’s argument is addressed further below.



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  1   deliver audio visual materials because they are tailored to convey video content to
  2   consumers. (Opp’n 4.)
  3         In making this argument, Walsh relies on the court’s opinion in In re Vizio, Inc.
  4   In In re Vizio, Inc., the court held that “for [a defendant] to be engaged in the business
  5   of delivering video content, the defendant’s product must not only be substantially
  6   involved in the conveyance of video content to consumers but also significantly
  7   tailored to serve that purpose.”       Id. at 1221.      This definition was developed
  8   specifically to distinguish between defendants like a smart TV manufacturer, who is in
  9   the business of delivering video content, and someone like a letter carrier, who might
 10   deliver a videotape to a consumer’s mailbox but is not in the business of specifically
 11   delivering videotapes.    Id. at 1221–22.        Thus, In re Vizio’s definition of being
 12   “engaged in the business of delivering video” says nothing about what actually
 13   constitutes “delivery,” but focuses more so on the definition of “business.”
 14         Rather, the definition of “delivery” and its application to movie theaters has
 15   previously been considered within the Ninth Circuit. In Osheske v. Silver Cinemas
 16   Acquisition Co., the court considered the applicability of the VPPA, and defined
 17   “delivery” of audio visual materials as turning on the transfer of a possessory interest
 18   in the materials.     No. 2:22-cv-09463 HDV (JCx), 2023 WL 8188464, at *3–4
 19   (C.D. Cal. Oct. 31, 2023), appeal filed, No. 23-3882 (9th Cir. Nov. 30, 2023). Under
 20   this definition, a movie theater could not be a VTSP, because movie theaters do not
 21   give their customers a possessory interest in the movies they show. Applying Osheske
 22   here, the Court would not need to consider the definition from In re Vizio to determine
 23   whether movie theaters are in the business of delivering video content, because movie
 24   theaters do not “deliver” video content at all.
 25         However, Walsh pushes back against Osheske’s definition of “delivery,” and
 26   cites to a series of court decisions finding that video streaming websites are VTSPs,
 27   despite not transferring any possessory interests. (Opp’n 9.) Walsh first suggests one
 28   alternate definition of delivery, where it means “to produce the promised, desired, or




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  1   expected results.” (Id. at 8.) A court within the Ninth Circuit has considered this
  2   definition of “delivery,” and concluded that it does not apply to movie theaters. In
  3   Garza v. Alamo Intermediate II Holdings, LLC, the court found that this definition of
  4   “delivery” is not what the word “usually means,” and that it “is surely not what
  5   ‘delivery’ means in [the VPPA].” No. 23-cv-05849-VC, 2024 WL 1171737 at *1
  6   (N.D. Cal. Mar. 19, 2024), appeal filed, No. 24-2165 (9th Cir. Apr. 8, 2024). The
  7   court held that the VPPA “refers to the delivery of a specific kind of good
  8   (‘audiovisual materials’), not the delivery of a result or outcome.”        Id.   Walsh
  9   acknowledges this holding from Garza but responds to it only by noting that his
 10   proposed definition—one involving “expected results”—is in the dictionary, and that
 11   “if [Defendants’] projector broke and the movie did not play, movie-goers would say
 12   [Defendants’] failed to ‘deliver’ the movie.” (Opp’n 9.) This does not address the
 13   Garza court’s note about the context of the word in the actual statute, which refers to
 14   the delivery of “audio visual materials,” rather than a generalized “expected result.”
 15   The Court agrees with Garza and finds that Walsh’s dictionary definition is not
 16   applicable in the context of the VPPA.
 17         Next, Walsh argues for a second alternate definition of “delivery,” where it
 18   means “sending something to an intended destination.” (Id. at 8.) The Garza court
 19   also considered this definition and concluded that it also does not apply to movie
 20   theaters. See Garza, 2024 WL 1171737 at *1 (stating that even if “delivery” were
 21   defined as “the act of ‘sending something to an intended destination,’” this definition
 22   would not cover movie theaters, and that “it would be quite a stretch to say that movie
 23   theaters ‘send’ movies by projecting them onto a screen”). Walsh disagrees with
 24   Garza and argues that “[i]t is no more of a stretch to say [Defendants deliver] open-
 25   reel movies on a silver screen than it is to say [a streaming service] delivers videos on
 26   one’s computer screen.” (Opp’n 9.)
 27         It is true that courts have held streaming service providers and similar platforms
 28   to be VTSPs. See In re Facebook, Inc., Consumer Priv. User Profile Litig., 402 F.




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  1   Supp. 3d 767, 798–99 (N.D. Cal. 2019); Stark v. Patreon, Inc., 635 F. Supp. 3d 841,
  2   852 (N.D. Cal. 2022); In re Hulu Priv. Litig., No. C 11-03764 LB, 2012 WL 3282960
  3   at *6 (N.D. Cal. Aug. 10, 2012); Jackson v. Fandom, Inc., No. 22-cv-04423-JST,
  4   2023 WL 4670285 at *3 (N.D. Cal. July 20, 2023); Ghanaat v. Numerade Labs, Inc.,
  5   689 F. Supp. 3d 714, 720 (N.D. Cal. 2023).
  6          However, streaming platforms can clearly be distinguished from movie theaters
  7   for the purposes of the VPPA. The Supreme Court has held that movie theaters are
  8   places of public accommodation, and that individuals there do not enjoy the same
  9   privacy rights offered in a private home. Paris Adult Theatre I v. Slaton, 413 U.S. 49,
 10   50 (1973).4 Conversely, streaming services typically send audio visual materials to
 11   private devices, often in private homes. Thus, there is a key distinction between
 12   streaming services and movie theaters, and there is no inconsistency between holdings
 13   which treat the former as VTSPs and those which decline to do the same for the latter.
 14          As the Court finds Walsh’s analogy between movie theaters and streaming
 15   services to be unavailing, the Court agrees with the holdings from Osheske and Garza
 16
 17   4
        Walsh acknowledges the Supreme Court’s decision in Paris Adult Theatre, but he argues that
      Congress created the VPPA because the constitutional rights to privacy outlined by the Supreme
 18   Court in that case did not go far enough. (Opp’n 12.) However, even In re Vizio Inc.—upon which
 19   Walsh heavily relies—only expands the VPPA to cover businesses that bring audio visual materials
      into a consumer’s home. In re Vizio, Inc., at 1222 (“In keeping with this statutory definition,
 20   Plaintiffs plausibly allege that [the defendants’ services] are designed to enable consumers to
      seamlessly access Netflix, Hulu, YouTube, and Amazon Instant Video content in their homes.”
 21
      (emphasis added)).
 22
      Walsh cites to the VPPA’s legislative history to argue that Congress created the VPPA to generally
 23   give consumers control over the flow of their information regardless of location. However, that
      same legislative history can suggest the opposite. One of the VPPA’s sponsors, Senator Leahy,
 24
      stated, “It is nobody’s business what [people] watch on television or read or think about when they
 25   are home.” S. REP. 599, 5, 1988 U.S.C.C.A.N. 4342-1, 4342–5 (emphasis added). Another VPPA
      sponsor, Senator Simon, stated, “Who would guess that the choice of movies one watches in the
 26   privacy of the home would not be confidential? The Video Privacy Protection Act takes an important
 27   step in ensuring that individuals will maintain control over their personal information when renting
      or purchasing a movie.” 134 Cong. Rec. S16312-01 (emphasis added). Accordingly, the VPPA’s
 28   legislative history does not support Walsh’s argument that Congress created the VPPA because it felt
      that Paris Adult Theatre did not go far enough.



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  1   and concludes that movie theaters do not “deliver” audio visual materials for the
  2   purposes of the VPPA.
  3         2.     “Renting” Audio Visual Materials as a Movie Theater
  4         Next, Walsh argues that Defendants are engaged in the business of “‘renting’
  5   consumers access to view ‘prerecorded . . . audio visual materials’ on its physical
  6   premises.”   (Opp’n 10.)    Here, Walsh again analogizes movie theaters to online
  7   services that allow consumers to access such materials on their computers by paying a
  8   subscription fee. (Id.) As discussed above, however, these services—which offer
  9   video content for in-home viewing—are not analogous to the offering of video content
 10   in a public space like a movie theater.         Further, courts have considered similar
 11   arguments, and determined that movie theaters “do not sell (or even rent) audio visual
 12   materials,” but rather only sell “a license to enter the theater premises at a particular
 13   time and, in effect, attend a public event.” Osheske, 2023 WL 8188464, at *4; see
 14   also Garza, 2024 WL 1171737 at *1 (holding that movie theaters do not rent movies
 15   to moviegoers).
 16         Walsh provides the Court with two unreported out-of-circuit cases that
 17   allegedly rebuke Osheske and Garza.         (Opp’n 1.)    The first case, Goldstein v.
 18   Fandango Media, LLC, does not deal with movie theaters as such, but rather with a
 19   website that sold movie tickets and displayed video clips.          No. 22-80569-CIV,
 20   2023 WL 3025111, at *1 (S.D. Fla. Mar. 7, 2023). There, the defendant argued that it
 21   was not a VTSP because its primary business was selling movie tickets, rather than
 22   displaying video clips. Id. at *3. The court in Goldstein ultimately concluded that it
 23   would need to conduct a factual inquiry beyond the pleadings to determine whether
 24   this was the case. Id. This suggests that the critical issue in Goldstein was not
 25   whether the defendant was in the business of selling movie tickets, but rather whether
 26   the defendant was in the business of primarily displaying video clips on its website.
 27   Id. In Goldstein, selling movie tickets, on its own, was insufficient to give rise to
 28   VTSP status for the defendants. Thus, Goldstein does not contradict the holding from




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  1   Osheske, that a movie theater sells only “a license to . . . attend a public event.” See
  2   Osheske, 2023 WL 8188464, at *4 (emphasis omitted).
  3         Walsh’s second case, Christopherson v. Cinema Entertainment Corporation, is
  4   a decision that simply states that “[t]he various Federal District Courts to have
  5   addressed claims under the VPPA are taking varying approaches on applying the
  6   definition of ‘video tape service provider’ to website owners, as well as, applying the
  7   VPPA’s other language to modern technology.”             No. 23-cv-3614 (JWB/LIB),
  8   2024 WL 1120925, at *4 (D. Minn. Mar. 6, 2024). The court in Christopherson notes
  9   that the resolution of the different approaches to defining a VTSP “remain[s]
 10   unsettled.”   Id.   Ultimately, neither Goldstein nor Christopherson answers the
 11   question of whether a movie theater “rents” “audio visual materials,” nor do they
 12   contradict the persuasive in-circuit holdings in Osheske or Garza.
 13         With Walsh failing to provide any other support for the argument that
 14   Defendants “rent” audio visual materials, the Court again agrees with the holding
 15   from Osheske and finds that movie theaters do not “rent” audio visual materials for the
 16   purposes of the VPPA.
 17         3.      “Delivering” Audio Visual Materials Through Movie Trailers
 18         Lastly, Walsh makes one further argument that Defendants deliver audio visual
 19   materials by displaying movie trailers on the Website. (Opp’n 5–6.) However, as
 20   stated by the court in In re Vizio, for Defendants “to be engaged in the business of
 21   delivering video content, [Defendants’] product must not only be substantially
 22   involved in the conveyance of video content to consumers but also significantly
 23   tailored to serve that purpose.” 238 F. Supp. 3d at 1221 (emphasis added). In this
 24   context, “‘business’ connotes ‘a particular field of endeavor,’ i.e., a focus of the
 25   defendant’s work.” Id.
 26         Here, however, the mere presence of trailers on Defendants’ website is
 27   insufficient to establish that Defendants are delivering audio visual materials to a
 28   degree that would be in the business of doing so. Walsh has made no allegations




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  1   which suggest that delivering movie trailers is “a focus of Defendants’ work.” (See
  2   generally Compl.; Opp’n.) Indeed, it seems more likely that these trailers merely
  3   serve to promote Defendants’ actual business as a movie theater.           Courts have
  4   repeatedly held that marketing videos are insufficient to bring a defendant under the
  5   definition of a VTSP. See, e.g., Cantu v. Tapestry, Inc., 697 F. Supp. 3d 989, 993
  6   (S.D. Cal. 2023) (“Hosting and creating prerecorded videos for the purpose of
  7   marketing its products does not suffice to plausibly allege Defendant is a video tape
  8   service provider.”); Carroll v. Gen. Mills, Inc., No. 2:23-cv-01746-DSF (MRWx),
  9   2023 WL 4361093, at *4 (C.D. Cal. June 26, 2023) (finding that a defendant is not a
 10   VTSP simply because it provides videos on its website to increase its brand presence).
 11   Because Walsh has not alleged that the movie trailers are anything more than
 12   marketing for a business that is otherwise not a VTSP, the presence of these trailers on
 13   the Website is insufficient to make Defendants a VTSP. Hernandez v. Chewy, Inc.,
 14   No. 2:23-cv-05620-HDV (RAOx), 2023 WL 9319236, at *3 (C.D. Cal. Dec. 13,
 15   2023) (dismissing a VPPA claim because the plaintiff’s complaint failed to allege how
 16   the videos supposedly giving rise to the defendant’s VTSP status were a central focus
 17   of the defendant’s business.)
 18         Furthermore, the Court notes that these trailers do not appear to feature in any
 19   way in Walsh’s Complaint.        (See generally Compl.)      Walsh alleges only that
 20   Defendants collect and disclose PII when consumers purchase movie tickets, and that
 21   the PII in question consists of a unique user ID and allows Meta to determine for
 22   which movies the consumer was purchasing tickets. Indeed, this is identical to the
 23   situation in Osheske. There, the plaintiff brought a VPPA claim against a movie
 24   theater for disclosing user IDs and movie titles to Meta during the ticket purchase
 25   process. Osheske, 2023 WL 8188464 at *1. Although the plaintiff in Osheske argued
 26   that the defendant was a VTSP in part because it displayed movie trailers on its
 27   website, the court rejected this argument because the presence of those trailers was not
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  1   relevant to the plaintiff’s allegations. Id. at *6. Here, like in Osheske, the presence of
  2   the trailers on Defendants’ website has no relation to Walsh’s VPPA claim.
  3         Therefore, the Court rejects Walsh’s argument that the presence of movie
  4   trailers on Defendants’ website renders them VTSPs subject to the VPPA.
  5         4.     Conclusion—VPPA
  6         For the reasons stated above, Walsh fails to establish that Defendants fall under
  7   the definition of a VTSP for the purposes of the VPPA, either through their business
  8   as a movie theater or the presence of movie trailers on the Website. Therefore, the
  9   Court declines to address the other elements of the VPPA claim, and GRANTS
 10   Defendants’ motion to dismiss Walsh’s first cause of action.5 Because the Court finds
 11   “the allegation of other facts consistent with the challenged pleading could not
 12   possibly cure the deficiency,” Schreiber Distrib., 806 F.2d at 1401, the dismissal is
 13   without leave to amend.
 14   B.    Walsh’s Claim Under Section 1799.3
 15         Next, Defendants move to dismiss Walsh’s second cause of action under
 16   Section 1799.3. (Mot. 12.) Section 1799.3 applies to “person[s] providing video
 17   recording sales or rental services.” Cal. Civ. Code § 1799.3. Such persons are
 18   prohibited from disclosing “any personal information or the contents of any record,
 19   including sales or rental information” that they prepare or maintain “to any person,
 20   other than the individual who is the subject of the record.” Id.
 21         Here, Walsh argues that Defendants are “persons” subject to Section 1799.3
 22   because they offer a “video recording . . . service” in the form of their movie
 23   screenings. (Opp’n 17.) According to Walsh, Defendants also provide either a sales
 24   service when they sell screenings as one-time packages with admission tickets, or a
 25   rental service in the sense that Defendants rent access to view the movies for a
 26   specific time interval. (Id.)
 27
      5
 28     Because the Court dismisses Walsh’s VPPA claim on this basis, it need not reach Defendants’
      argument that the VPPA violates the First Amendment to the United States Constitution.



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  1          Defendants contend that the word “recording” actually modifies the words
  2   “sales” and “rental services.” (Reply 12, ECF No. 29.) As such, Defendants contend
  3   that Section 1799.3 should instead be understood as applying to persons who either
  4   sell video recordings or provide rental services for video recordings, as opposed to the
  5   three activities outlined by Walsh. (Id.) Previous court holdings appear to follow
  6   Defendants’ interpretation, where the word “recording” modifies the words “sales”
  7   and “rental services” in Section 1799.3. See Fan v. NBA Properties Inc., No. 23-cv-
  8   05069-SI, 2024 WL 3297143, at *1 (N.D. Cal. July 2, 2024) (treating “recording” as
  9   modifying “sales”); Mollett v. Netflix, Inc., No. 5:11-cv-01629-EJD, 2012 WL
 10   3731542, at *2 (N.D. Cal. Aug. 17, 2012) (treating “recording” as modifying “rental
 11   services”), aff’d, 795 F.3d 1062 (9th Cir. 2015); see also Martin v. Meredith Corp.,
 12   657 F. Supp. 3d 277, 286 (S.D.N.Y. 2023) (holding that Section 1799.3 “applies only
 13   to entities providing video materials to customers in exchange for money”). The
 14   Court agrees with this reading of the statute.
 15          As such, whether Defendants provide “video recording services,” as Walsh
 16   contends, is not sufficient for Section 1799.3 to apply here. Rather, Defendants must
 17   provide video recording sales or video recording rental services for Section 1799.3 to
 18   apply. Further, for the reasons discussed in the VPPA analysis, movie theaters do not
 19   rent or sell video recordings. This remains true in the context of Section 1799.3. See
 20   Garza, 2024 WL 1171737 at *1 (holding that a movie theater operator does not sell or
 21   rent movies in the context of Section 1799.3).
 22          Accordingly, because Defendants do not fall under the purview of
 23   Section 1799.3, the Court GRANTS Defendants’ motion to dismiss Walsh’s second
 24   cause of action.6 As with Walsh’s VPPA claim, because “the allegation of other facts
 25   consistent with the challenged pleading could not possibly cure the deficiency,”
 26   Schreiber Distrib., 806 F.2d at 1401, the dismissal is without leave to amend.
 27   6
       Similar to Walsh’s VPPA claim above, because the Court dismisses Walsh’s cause of action under
 28   Section 1799.3 on this basis, it need not reach Defendants’ argument that Section 1799.3 is
      unconstitutional under the First Amendment to the United States Constitution.



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  1                                 V.   CONCLUSION
  2         For the reasons above, the Court GRANTS Defendants’ Motion to Dismiss
  3   WITHOUT LEAVE TO AMEND. (ECF No. 16.) The Clerk of the Court shall
  4   close this case.
  5
  6         IT IS SO ORDERED.
  7
  8         July 29, 2024
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 10                             ____________________________________
 11                                      OTIS D. WRIGHT, II
                                 UNITED STATES DISTRICT JUDGE
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